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IN THE UNITED sTATEs DISTRICT coURT FOR THE
wEsTERN I)ISTRICT oF TENNESSEE AT maxim

 

CL-B’tt U.S. MCT CO\HT
w,p us m utMPHS
GREGORY BRAY,
Plaintiff,
v. No. 04-2626-Ma/P
Jury Demanded

TONY COOPER, et al.,
Defendants.

 

fm] ORDER GRANTING MOTION OF DEFENDANTS, TONY
COOPER, GERALD STIPANUK, M.D., AND LYLE REECE TO AMEND
DISCOVERY DEADLINE

 

WHEREFORE, on or about July 8, 2005, the defendants, Reece, Cooper and
Stipanuk (“defendants”) moved this Court to amend the discovery deadline cunently set
as July 17, 2005, in this matter. Based upon the motion and memorandum filed in
support thereof by the defendants, it is the Court’S opinion that the defendants’ motion is
Well taken and should be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the

defendants’ motion to amend the discovery deadline is granted and that the discovery

deadline shall be moved to September 16, ZOOS,GHixtjhdays-a-Pter-€he-Gew=t-Fu-les-en-+he

 

 

Ti\is document entered on the docket sheet in compliance
with Rule 58 and/or 79(a) FHCP on " "

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CERTIFICATE OF SERVICE
_____________

I hereby certify that I have mailed a copy of the fore
#128878, N.W.C.X., 960 State Route 212, Tipto
Assistant Shelby County Atto

this 8"‘ day of July, 2005.

going to Gregory Bray
nville, TN 38079 and Debra Fessenden,
rney, 160 N. Main, St., Suite 660, Memphis, TN 38103 on

 

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This notice confirms a copy of the document docketed as number 55 in
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ESSEE

 

Gregory Bray

Northwest Correctional Cornplex
128878

960 State Route 212

Tiptonville7 TN 38079

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

